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                                                                August 27, 2020
          VIA ECF

          The Honorable Malachy E. Mannion
          William J. Nealon Federal Building and
          United States Courthouse
          235 North Washington Avenue, Room 415
          Scranton, PA 18503

                   Re:       United States of America v. David D. Klepadlo, et al.
                             Docket number: 3:16-CR-254
                             Sentencing Hearing: September 1, 2020 at 1:30 p.m.

          Dear Judge Mannion:

                  This will confirm my discussion with Ms. Sempa, wherein I advised her of my request to
          appear at the above sentencing hearing remotely for health reasons. I have discussed this with
          Dave Klepadlo and his wife, Linda, and they understand the reason for my request and are
          willing to proceed in this fashion. Mr. Bergere will be appearing with the client in person, as
          will my associate, Ms. Lowry. I have also advised Ms. Olshefski and Mr. Harrell of my request.

                 I am willing to share more information with your Honor regarding the reason for my
          request if necessary, and I thank the Court, Ms. Sempa and Counsel for your courtesies.


                                                                Respectfully submitted,



                                                                Mark B. Sheppard



          cc:      Michelle Olshefski, AUSA
                   Martin Harrell, Associate Regional Counsel, EPA
                   Timothy Bergere, Esquire
                   David Klepadlo (all via email/ECF)




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